     Case 8:22-cv-00700-ADS Document 1 Filed 03/30/22 Page 1 of 7 Page ID #:1




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     QUALITY CONTROL SERVICES GROUP, INC.
6
                            UNITED STATES DISTRICT COURT
7
                                 CENTRAL DISTRICT OF CALIFORNIA
8

9
     QUALITY CONTROL SERVICES                              Case No.: 8:22-cv-700
10   GROUP, INC.;
                                                           COMPLAINT
11                                       Plaintiff,
12
                                                           [JURY TRIAL DEMANDED]
     v.
13
     GENETIX, LLC; PAT A. BELL;
14   NATURAL STATE LABORATORIES,
15
     LLC; STEPHEN W. HARRISON;
     NATURAL STATE GENOMICS, LLC;
16   SEABORN J. BELL; JEFFREY WEEKS;
     AND DOES 1 THROUGH 10;
17

18                                       Defendants.
19            Plaintiff Quality Control Services Group, Inc. (“Plaintiff” or “QCSG”) for its
20   Complaint against Defendants Genetix, LLC, Pat A. Bell, Natural State Laboratories,
21   LLC, Stephen W. Harrison, Natural State Genomics, LLC, Seaborn J. Bell, Jeffrey
22   Weeks, and Does 1 through 10 (collectively, “Defendants”) makes the allegations
23   below.
24                                             INTRODUCTION
25            1.          This case arises out of Defendants’ failure to pay for marketing services
26   rendered by QCSG between May 2021 and June 2021. By this lawsuit, QCSG seeks to
27   recover the $209,384.62 due to it, plus accrued interest, attorneys’ fees, and court costs.
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     Complaint – Page 1
     Case 8:22-cv-00700-ADS Document 1 Filed 03/30/22 Page 2 of 7 Page ID #:2




1                                                   PARTIES
2             2.          Plaintiff Quality Control Services Group, Inc. is a Nevada corporation
3    with its principal place of business in Orange County, California.
4             3.          Plaintiff is informed and believes, and based thereon alleges, that
5    Defendant Genetix, LLC is an Arkansas limited liability company, and that its principal
6    place of business is at 2211 Huntleigh Court, Little Rock, AR 72212.
7             4.          Plaintiff is informed and believes, and based thereon alleges, that
8    Defendant Pat A. Bell is an individual resident in Arkansas, and that his usual place of
9    business is at 2211 Huntleigh Court, Little Rock, AR 72212.
10            5.          Plaintiff is informed and believes, and based thereon alleges, that
11   Defendant Natural State Laboratories, LLC is an Arkansas limited liability company,
12   and that its principal place of business is at 5007 Ranch Road, Suite 202, Little Rock,
13   AR 72223.
14            6.          Plaintiff is informed and believes, and based thereon alleges, that
15   Defendant Stephen W. Harrison is an individual resident in Arkansas, and that his usual
16   place of business is at 5007 Ranch Road, Suite 202, Little Rock, AR 72223.
17            7.          Plaintiff is informed and believes, and based thereon alleges, that
18   Defendant Natural State Genomics, LLC is an Arkansas limited liability company, and
19   that its principal place of business is at 1400 Kirk Road, Suite 110, Little Rock, AR
20   72223.
21            8.          Plaintiff is informed and believes, and based thereon alleges, that
22   Defendant Seaborn J. Bell is an individual resident in Arkansas, and that his usual place
23   of business is at 1400 Kirk Road, Suite 110, Little Rock, AR 72223.
24            9.          Plaintiff is informed and believes, and based thereon alleges, that
25   Defendant Jeffrey Weeks is an individual resident in Arkansas, and that his usual place
26   of business is at 5007 Ranch Road, Suite 202, Little Rock, AR 72223.
27            10.         Plaintiff is ignorant of the true names and capacities of the Defendants
28   sued herein as Does 1 through 10, and therefore sues these Defendants by such


     Complaint – Page 2
     Case 8:22-cv-00700-ADS Document 1 Filed 03/30/22 Page 3 of 7 Page ID #:3




1    fictitious names. Plaintiff will amend this Complaint to allege their true names and
2    capacities when ascertained.
3             11.         At all times relevant herein, and at the time of the transactions complained
4    of, each of the Defendants were the agent and employee of each of the remaining
5    Defendants, and in doing the things hereinafter alleged, was acting within the scope of
6    such agency.
7                                       ALTER EGO ALLEGATIONS
8             12.         Plaintiff is informed and believes, and thereon alleges, that Genetix, LLC
9    is, and at all times since its formation was, the alter ego of Pat A. Bell. Plaintiff is
10   informed and believes, and based thereon alleges, that there is a unity of ownership and
11   interest by and between said Defendants such that any separateness between them has
12   never existed. Plaintiff is informed and believes, and based thereon alleges, that
13   Genetix, LLC was formed by Pat A. Bell, operated with inadequate capitalization and
14   failed to respect other corporate formalities that would indicate a separate existence
15   from Pat A. Bell.
16            13.         Plaintiff is informed and believes, and thereon alleges, that Natural State
17   Laboratories, LLC is, and at all times since its formation was, the alter ego of Stephen
18   W. Harrison and Jeffrey Weeks. Plaintiff is informed and believes, and based thereon
19   alleges, that there is a unity of ownership and interest by and between said Defendants
20   such that any separateness between them has never existed. Plaintiff is informed and
21   believes, and based thereon alleges, that Natural State Laboratories, LLC was formed
22   by Stephen W. Harrison and Jeffrey Weeks, operated with inadequate capitalization
23   and failed to respect other corporate formalities that would indicate a separate existence
24   from Stephen W. Harrison and Jeffrey Weeks.
25            14.         Plaintiff is informed and believes, and thereon alleges, that Natural State
26   Genomics, LLC is, and at all times since its formation was, the alter ego of Seaborn J.
27   Bell and Jeffrey Weeks. Plaintiff is informed and believes, and based thereon alleges,
28   that there is a unity of ownership and interest by and between said Defendants such that


     Complaint – Page 3
     Case 8:22-cv-00700-ADS Document 1 Filed 03/30/22 Page 4 of 7 Page ID #:4




1    any separateness between them has never existed. Plaintiff is informed and believes,
2    and based thereon alleges, that Natural State Genomics, LLC was formed by Seaborn J.
3    Bell and Jeffrey Weeks, operated with inadequate capitalization and failed to respect
4    other corporate formalities that would indicate a separate existence from Seaborn J.
5    Bell and Jeffrey Weeks.
6                                                JURISDICTION
7             15.         This Court has jurisdiction over this action pursuant to 28 U.S.C. §
8    1332(a) because the matter in controversy exceeds the sum or value of $75,000,
9    exclusive of interest and costs, and is between citizens of a State and citizens or
10   subjects or a foreign state.
11                                                    VENUE
12            16.         Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
13   because a substantial part of the events or omissions giving rise to Plaintiff’s claim
14   occurred in this judicial district.
15                                        FACTUAL ALLEGATIONS
16            17.         Defendants market, provide, and sell genetic testing services to consumers.
17            18.         In or about May 2020, Plaintiff and Defendants entered into an oral
18   agreement under which Plaintiff and its affiliated entities were to provide the following
19   services to Defendants: (a) design, develop, launch, and maintain a corporate website
20   for Defendants at www.genetix.ai.; (b) design, develop, launch, and maintain a web-
21   based customer relations management (CRM) application for use by Defendants to
22   onboard and monitor customer activity; (c) design, implement, and manage online
23   digital marketing campaigns via Facebook and Google, and such other marketing to
24   generate sales leads for Defendants; and (d) initial lead qualification in accordance with
25   mutually agreed upon parameters, for collecting insurance and primary care physician
26   information, and for shipping testing kits to qualified patients.
27            19.         Plaintiff and its affiliated entities duly provided the services to Defendants
28   between May 2020 and June 2021.


     Complaint – Page 4
     Case 8:22-cv-00700-ADS Document 1 Filed 03/30/22 Page 5 of 7 Page ID #:5




1             20.         Defendants stopped paying for Plaintiff’s services in June 2021.
2             21.         Plaintiffs continued to perform services for Defendants for several weeks
3    after Defendants stopped issuing payments based on promises by Defendants that
4    payments for the services would be forthcoming.
5             22.         At the present time, the principal amount due and owing from Defendants
6    to Plaintiff is $209,384.62.
7                                         FIRST CAUSE OF ACTION
8                                            QUANTUM MERUIT
9                                         (AGAINST DEFENDANTS)
10            23.         Plaintiff repeats, re-alleges and incorporates by this reference each and all
11   of the allegations contained in the foregoing paragraphs of this Complaint.
12            24.         Defendants requested by words or conduct that Plaintiff perform marketing
13   services.
14            25.         Plaintiff performed the services as requested.
15            26.         Defendants have not paid Plaintiff for the services.
16            27.         The reasonable value of the services provided by Plaintiff and unpaid by
17   Defendants is $209,384.62.
18                                      SECOND CAUSE OF ACTION
19                                         OPEN BOOK ACCOUNT
20                                        (AGAINST DEFENDANTS)
21            28.         Plaintiff repeats, re-alleges and incorporates by this reference each and all
22   of the allegations contained in the foregoing paragraphs of this Complaint.
23            29.         Plaintiff and Defendants had financial transactions with respect to the
24   services that were provided by Plaintiff to Defendants.
25            30.         Plaintiff kept an account of the debits and credits involved in the
26   transactions.
27            31.         Defendants owe the principal amount of $209,384.62, plus interest
28   thereon, to Plaintiff.


     Complaint – Page 5
     Case 8:22-cv-00700-ADS Document 1 Filed 03/30/22 Page 6 of 7 Page ID #:6




1                                         THIRD CAUSE OF ACTION
2                                             ACCOUNT STATED
3                                         (AGAINST DEFENDANTS)
4             32.         Plaintiff repeats, re-alleges and incorporates by this reference each and all
5    of the allegations contained in the foregoing paragraphs of this Complaint.
6             33.         Defendants currently owe the principal amount of $209,384.62, plus
7    interest thereon, to Plaintiff.
8             34.         Defendants and/or their agents confirmed that the principal amount of
9    $209,384.62, plus interest thereon, was the correct amount owed by Defendants to
10   Plaintiff.
11            35.         Defendants have not paid Plaintiff any of the amount owed under this
12   account.
13            36.         Defendants owe $209,384.62, plus interest thereon, to Plaintiff.
14                                           PRAYER FOR RELIEF
15            WHEREFORE, Plaintiff prays for the following relief:
16            1.          For damages in an amount to be proved at trial, but not less than
17   $209,384.62;
18            2.          For prejudgment and postjudgment interest;
19            3.          For attorney’s fees as permitted by law or contract;
20            4.          For injunctive relief;
21            5.          For costs of suit; and
22            6.          For such other and further relief as the Court deems just and proper.
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24   ///
25   ///
26   ///
27   ///
28   ///


     Complaint – Page 6
     Case 8:22-cv-00700-ADS Document 1 Filed 03/30/22 Page 7 of 7 Page ID #:7




1                                DEMAND FOR TRIAL BY JURY
2             Pursuant to Local Rule 38-1, Plaintiff Quality Control Services Group, Inc.
3    demands a trial by jury on all claims so triable.
4    Dated: March 30, 2022                    LAW OFFICES OF SETH W. WIENER
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6
                                              By:_______________________________
7                                                  Seth W. Wiener
8                                                  Attorneys for Plaintiff
                                                   Quality Control Services Group, Inc.
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     Complaint – Page 7
